                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:
                                                     Chapter 7
Joseph G. DuMouchelle and Melinda
J. Adducci,                                          Case No. 19-54531

                                                     Honorable Lisa S. Gretchko
          Debtors.
____________________________________/

Thomas T. Ritter,

              Plaintiff,

v.

Melinda J. Adducci,                                  Adversary Pro. No. 20-04381


     Defendants.
____________________________________/

     ORDER EXTENDING DEADLINES FOR (I) EXPERT REPORTS, (II)
        DISCOVERY CUT OFF, AND (III) DISPOSITIVE MOTIONS

         THIS MATTER came before the Court upon the stipulation (“Stipulation”;

ECF No. 161) between Thomas T. Ritter (“Plaintiff”) and Melinda J. Adducci

(“Defendant”), by their respective counsel, consenting to the terms of this Order. The

Court has reviewed the Stipulation and based thereon, finds cause to enter this Order.




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      NOW THEREFORE, IT IS HEREBY ORDERED that the Parties’ expert

report deadline is extended to May 5, 2024.

      IT IS FURTHER ORDERED that the Parties’ discovery cut off deadline is

extended to May 19, 2024.

      IT IS FURTHER ORDERED that the Parties’ dispositive motion deadline is

extended to June 1, 2024.


Signed on December 11, 2023




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